Case 1:23-cv-01112-LJV Document 1 Filed 10/24/23 Page 1 of 11

23 CV 1112-V
Revised 03/06 WDNY UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

FORM TO BE USED IN FILING A CIVIL COMPLAINT IN FEDERAL COURT
(Non-Prisoner Context)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

1. CAPTION OF ACTION

A. Full Name of Plaintiff: NOTE: ifmore than one e plainty Files tists action bean seeks in in forma panes status, each anny

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-VS-

B. Full Name(s) of Defendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names of all parties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. Add a separate sheet, if necessary.

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Division of Parking En forcement 5. Cy oF foulfalo floc) Boh Funder bq

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Hon Judge. Peter j¢ savage TIT 6.

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2. STATEMENT OF JURISDICTION, VENUE and NATURE OF SUIT
All of these sections MUST be answered

Identify the basis for federal Court jurisdiction over your claim, such as that the United States government is a party to the action, all the
parties reside in different states and therefore you claim diversity jurisdiction, or the claim presents a federal question or arises under
federal law.

A. Basis of Jurisdiction in Federal Court: OWNSes uncer bedera \ law) Fecleva\ Gy SOY

State why the Western District of New York is the proper venue for this action, such as that your claim arises in or the defendant resides

in the 17 westernmost counties of New York State.

B. Reason for Venue in the Western District: OwWmseS Wr Wes hen Wishic {

Identify the nature of this action, such as that itis a civilrights claim, a personal injury or personal property (tort) claim, a property rights

claim, or whatever it is.

C. Nature of Suit: Civil Rat tS Noy SUN Wo perty

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3. PARTIES TO THIS ACTION

PLAINTIFF’S INFORMATION NOTE: 7o list additional plaintiffs, use this format on another sheet of paper.
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Name of First Plaintiff: \ AMaAen LAW S
Present Address: \ O@ue Oh \QD “Th st Apt aul Pu Fralp NV < [ YL)
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Name of Second Plaintiff:

Present Address:

DEFENDANT’S INFORMATION NOTE: 7o list additional defendants, use this format on another sheet of paper.

’ 0 Or,
Name of First Defendant: CAG ot Mula lo Lmppunel
: — ; —
Official Position of Defendant (if relevant): WO\ Sue if yeres Q nome of Ylle i
Address of Defendant:_\le Payt St. Bulhio WY 1UD\ y

Name of Second Defendant: Dayan pr Reon EA Loreen
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Official Position of Defendant (if relevant):

Address of Defendant: \\\__C\ AY Kail Buttado, WY Wana

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Name of Third Defendant: 4 on Vodae  Veler aie Say ace. —)\\

Official Position of Defendant (if relevant): Crimieal Court \odae

as 2 oa es coe
Address of Defendant: SO Delowvae, Awe. Bulk, lo, MY \Nab2

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
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Yes N

If Yes, complete the next section. NOTE: /f you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

1. Name(s) of the parties to this other lawsuit:

Plaintiff(s):

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3. PARTIES TO THIS ACTION
Continued
DEFENDANT?’S INFORMATION NOTE: 1o list additional defendants, use this format on another sheet of paper.

Name of Fourth Defendant: (2D{\ cf Ui cer MM. \Watlen hore _

Official Position of Defendant: (if relevant):

Address of Defendant: los Court st Bulfalb, WN 14202

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"7 i if) of rit fy if i dt oa
Name of Fifth Defendant: G) fy OF Butelo Ut KOs YY Koher | AUG lef i uf

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Official Position of Defendant: (if relevant):

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Address of Defendant: (dd K\\ AC Wu SQuruten | Kooy Oo Buffalo J My UY AOA

Name of Sixth Defendant:

Official Position of Defendant: (if relevant):

Address of Defendant:

Name of Seventh Defendant:

Official Position of Defendant: (if relevant):

Address of Defendant:

Name of Eighth Defendant:

Official Position of Defendant: (if relevant):

Address of Defendant:

Name of Ninth Defendant:

Official Position of Defendant: (if relevant):

Address of Defendant:

Name of Tenth Defendant:

Official Position of Defendant: (if relevant):

Address of Defendant:

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Defendant(s):

2: Court (if federal court, name the district; if state court, name the county):

3. Docket or Index Number:

4. Name of Judge to whom case was assigned:
5. The approximate date the action was filed:
6. What was the disposition of the case?

Is it still pending? Yes No

If not, give the approximate date it was resolved.

Disposition (check those statements which apply):

Dismissed (check the statement which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to prosecute, pay filing fee or otherwise respond to a
court order;

By court due to your voluntary withdrawal of claim;

Judgment upon motion or after trial entered for

plaintiff
defendant.

5. STATEMENT OF CLAIM

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. 10(b) states that “{a]ll averments of claim ... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.”

A. FIRST CLAIM: On (date of the incident)_WOQveMoer lo, 2029 (\- b-A0Rg
defendant (give the name and (if relevant) the position held of each defendant involved in this incident) Bult HO
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Case 1:23-cv-01112-LJV Document 1 Filed 10/24/23 Page 5 of 11

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The federal basis for this claim is: Federa\ Rule of Gvil Procedure Ut With NYS VAT 5 “bh, Bale Ayerdaeit
ArdloR Federay Kwre. of Crim nai Prcedure 22.2, hs wal as Vb use 242 (¥% head
State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:
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B. SECOND CLAIM: On (date of the incident) \\CNeyDur |, QOD ii—F< St.

defendant (give the name and (if relevant) position held of each defendant involved in this incident) Dw (SID)
of Parking En Purcement

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The federal basis for this claim is: federal Rule c& Gyil UeCedwe Aule (ot — NOTES EF NovirSeeYy
Commie Oo Cale $1937, With NYS VT Bip an 5 WO, fad 1B Wse 242 1¥ USC DH
State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:
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If you have additional claims, use the above format to set them out on additional sheets of paper.

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/ sayy . SPST on. worst ee
C. THIRD CLAIM: On (date of the incident) Novaber 12, 2022-30 Yi 12-2022.-30"

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defendant (give the name and (if relevant) position held of each defendant involved in this incident) C id { Or
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State briefly exactly what you want the Court to do for you. Make no legal arguments and ane no cases or Statutes:
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&\ COO”

D. FOURTH CLAIM: On (date of the incident) Decer Neer 320, 2002. \o- 2D DOS

defendant (give the name and (if relevant) position held of each defendant involved in this incident) \-| (>}).

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The federal basis for ie claim is: 29 lA (SC. \\ i

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State stk Smaeny what you want the Court to do for you. Make no legal arguments and cite no cases or Statutes:

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Case 1:23-cv-01112-LJV Document 1 Filed 10/24/23 Page 7 of 11

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E. FIFTH CLAIM: On (date of the incident) A Wu ne 3 anak on4 {\-adbO3

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defendant (give the name and (if relevant) position held of each defendant involved in this incident) U it) ol
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The federal basis for this claim is: 5 th Amend meat JAS Gy wer lant

State briefly exactly what you want the Court to do for you. Make no legal veune’ and cite no cases or statutes:

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F. SEXTH CLAIM: On (date of the incident) Auge Sst _ \ Qba3 &-|- Q2CO23

defendant (give the name and (if relevant) position held of each defendant involved in this incident) iC HA () lL

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The federal basis for this claim is: 2 use QYa ut Borer muck, \S LOSc OHI

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State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

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G. SEVENTH CLAIM: On (date of the incident) OC\Cer BO, 2029 10520093

defendant (give the name and (if relevant) a held of each defendant involved in this incident) Cy 4 4 Or

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The federal basis for this claim is:

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State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:
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6. SUMMARY OF RELIEF SOUGHT

Summarize the relief requested by you in each statement of claim above.
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Safle

Do you want a jury trial? ves No

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 1o| al | ele)

(date)

NOTE: Each plaintiffmust sign this complaint and nd must also sign ‘| annelt ret file " 0. Court.

TO Bua UNA tcl

Signature(s) of Plaintiff(s)
Case 1:23-cv-01112-LJV Document1 Filed 10/24/23 Page 10 of 11
a ty vV til 2~V
IS-44 Re. 08/18) CIVIL COVER SHEET 93 CV itt:

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS _ DEFENDANTS Cy hy ot Tttalp \ynoe > na, PvwiS | ON
TAMA LW AT UWS OF FORarg Cntorcon Not Suige Heer 3. Save
\ BUD OF UW. Wa tiwhorsr, Coty of ufo Pikoc tea Robert

Surdecovry .
County of Residence 6f First Listed Defendant EQLE,

EC v€,

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

NOTE:

Attorneys (If Known)

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
- (For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State a1 © 1 Incorporated or Principal Place o4 04
of Business In This State
GO 2. U.S. Government 0 4 Diversity Citizen of Another State o 2 © 2 Incorporated and Principal Place o5 o5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a 03 O 3. Foreign Nation go6 O86
_Foreign Country

IV. NATURE OF SUIT (Place an “X” in One Box Only)

Click here for: Nature o

f Suit Code Descriptions.

| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
© 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure 422 Appeal 28 USC 158 © 375 False Claims Act
© 120 Marine © 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act © 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability © 367 Health Care/ © 400 State Reapportionment
O 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights © 430 Banks and Banking
1 151 Medicare Act 1 330 Federal Employers’ Product Liability 1 830 Patent © 450 Commerce
© 152 Recovery of Defaulted Liability C1 368 Asbestos Personal © 835 Patent - Abbreviated © 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY O 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle © 370 Other Fraud 0 710 Fair Labor Standards 0 861 HIA (1395ff) O 485 Telephone Consumer
© 160 Stockholders’ Suits © 355 Motor Vehicle © 371 Truth in Lending Act © 862 Black Lung (923) Protection Act
© 190 Other Contract Product Liability © 380 Other Personal 1 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 490 Cable/Sat TV
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI O 850 Securities/Commodities/
© 196 Franchise Injury (1 385 Property Damage © 740 Railway Labor Act O 865 RSI (405(g)) Exchange
7 362 Personal Injury - Product Liability 1 751 Family and Medical © 890 Other Statutory Actions
Medical Malpractice Leave Act _ © 891 Agricultural Acts
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 790 Other Labor Litigation FEDERAL TAX SUITS © 893 Environmental Matters
© 210 Land Condemnation a 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement O 870 Taxes (U.S. Plaintiff C1 895 Freedom of Information
220 Foreclosure 0 441 Voting O 463 Alien Detainee Income Security Act or Defendant) Act
230 Rent Lease & Ejectment 1 442 Employment © 510 Motions to Vacate © 871 IRS—Third Party © 896 Arbitration
© 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 © 899 Administrative Procedure
© 245 Tort Product Liability Accommodations © 530 General Act/Review or Appeal of
© 290 All Other Real Property © 445 Amer. w/Disabilities - ]( 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: © 462 Naturalization Application 1 950 Constitutionality of
© 446 Amer. w/Disabilities - |] 540 Mandamus & Other | 465 Other Immigration State Statutes
Other C1 550 Civil Rights Actions
1 448 Education (1 555 Prison Condition
0 560 Civil Detainee -
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Confinement

V. ORIGIN (Place an “X" in One Box Only)

1 Original [12 Removed from 3  Remanded from 0 4 Reinstated or © 5 Transferred from © 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION

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Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
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VII. REQUESTED IN

COMPLAINT:

© CHECK IF THIS

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

DEMAND $

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CHECK YES only i
JURY DEMAND:

f demanded in complaint:
mn Yes ONo

VIII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

DOCKET NUMBER

DATE NV y SIGNATURGOF A OR E SF RECORD
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FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE ies / MAG. JUDGE

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in, *
JS 44 Reverse (Rev. 08/18)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)

(b)

(c)

iil.

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VI.

Vil.

VII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407,

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
